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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
              v.                    )
                                    )                          CRIMINAL NO. 19-10080
DAVID SIDOO, et al                  )
            Defendants              )                          Leave to File Granted on
                                    )                          September 17, 2019
____________________________________)

   DEFENDANT ROBERT ZANGRILLO’S SUR-REPLY REGARDING NONPARTY
       UNIVERSITY OF SOUTHERN CALIFORNIA’S MOTION TO QUASH

       Now comes the Defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully submits this Sur-Reply regarding Nonparty University of Southern California’s

(“USC”) Motion to Quash Mr. Zangrillo’s Rule 17(c) Subpoena. In its reply in support of the motion

to quash, USC fails to provide any trustworthy basis for its denial of the existence of documents

responsive to Mr. Zangrillo’s requests. Rather, it continues to resist making any meaningful

production by (1) seeking to redefine the requests as limited to individual documents containing all

of the information sought; and (2) offering a substantially revised Declaration from Dean of

Admission Tim Brunold, inconsistent in a number of respects with both the prior declaration

submitted by Brunold just weeks ago and with the exhibits appended to Mr. Zangrillo’s opposition.

See Dkt. 546. As made clear in Mr. Zangrillo’s response in opposition to USC’s motion, the

subpoena demands production of any and all documents containing responsive information, and is

not limited to individual documents containing a complete set of information. Moreover, the

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documents sought are clearly relevant to Mr. Zangrillo’s trial defenses, see Dkt. 546 at 24-28, as will

be further explained at oral argument on Wednesday. Mr. Zangrillo submits this Sur-Reply primarily

to address why this Court should not rely upon the revised Brunold Declaration, as well as the

representations made by USC based on that document, to deny the defendant access to documents

that are relevant, admissible, and accessible to the USC keeper of records.

        On August 22, 2019, in support of USC’s motion to quash, Brunold submitted his first

declaration in this case. Among other things, Brunold unequivocally stated that “the majority of

students who receive a special interest tag are not admitted” to USC. Dkt. 532-3 at ¶ 3. He went on

to assert that “[t]he Admission Department has no involvement with respect to donations or potential

donations.” Id. at ¶ 6 (emphasis added). Citing Brunold, USC categorically represented to the Court

that its admissions office “does not know how much the family of an applicant has donated.” Dkt.

532-1 at 4 (emphasis added).

        As Mr. Zangrillo has already laid out in great detail, these representations were inaccurate

and/or misleading. Students designated as special interest by the athletics department (the only USC

department for which Mr. Zangrillo currently possesses relevant documents) were admitted at a

staggering rate of approximately 80% over the time period at issue in the subpoena, with the

admission rate for one year exceeding 90%. See Dkt. 546 at 4. Similarly, when Donna Heinel sent

Brunold athletics’ list of tagged students, including the “Pat VIP List” referring to then-Athletic

Director Pat Haden, see Dkt. 546-5, she consistently provided detailed information regarding past or

potential future donations by the applicants’ families, often with the amounts of such donations made

in the past or promised or expected in the future, see Dkt. 546 at 5-6. Unsurprisingly, Brunold now

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offers a substantially revised declaration, walking back his prior unequivocal representations on these

issues. When he “previously stated that a majority of students who receive special interest tags are

not admitted,” Brunold now clarifies that he “was focused on freshmen fall admission.” Dkt. 557-2

at ¶ 6. Many of the admitted freshmen VIPs were specifically admitted for the spring semester; other

VIPs were admitted as transfer students. See, e.g., Dkt. 546-1. Brunold’s initial declaration did not

hint at any such limitation, one that presumably is material to whether or not 50% of special interest

students get admitted. Similarly, Brunold now acknowledges (as he must) that he received

information regarding donations but insists that he “did not want, request, or rely upon” that

information. Dkt. 557-2 at ¶ 7. Despite Heinel’s consistent practice of sending this information to

Brunold over the course of multiple years, there is no indication that Brunold ever told her that he did

not want to know about donations or that he asked her to stop including the notes in her lists.

Instead, he simply thanked her for the information and circled back about a month later with

extremely favorable admission decisions.

        While Brunold’s new declaration walks back certain demonstrably inaccurate statements

contained in his original submission, it also stands by other attestations that Mr. Zangrillo has already

exposed as highly implausible and/or misleading:

            •   Brunold maintains that “USC does not possess any documents containing a complete
                list of students who received a special interest tag.” Dkt. 557-2 at ¶ 3. Of course, it is
                clear that USC certainly maintained lists of special interest students. See Dkt. 546-1,
                546-2, 546-4, 546-5, 546-6. And, what’s more, some of those lists spanned multiple
                years. See Dkt. 546-1 (document entitled “Cumulative Special Interest 2012-2015”) .

            •   Brunold proceeds to specifically address Exhibit 3 to Mr. Zangrillo’s opposition,
                explaining that, when he “referenced a ‘university-wide VIP spreadsheet’ in a March
                10, 2016 email,” he “was referring to a document that could be created through
                compiling data maintained in our internal application processing system.” Dkt. 557-2
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               at ¶ 4 (emphasis added). Here is Brunold’s quote from 2016: “I have just gone back
               through today’s subco docket and cross-referenced it with my university-wide VIP
               spreadsheet.” Dkt. 546-3. Brunold then provides a list of students who he describes
               as “on my VIP spreadsheet as ‘wait for subco’.” Id. He adds, “I haven’t cross-
               referenced these with the docket spreadsheet (sorry), so perhaps we’ve already
               decided on them. If so, please report our decision back to me so that I can update the
               VIP spreadsheet.” Id. Respectfully, the notion that Brunold was referring to some
               hypothetical not-yet-existent document strains credulity.

           •   Along similar lines, Brunold next represents, “I have reviewed the charts related to
               special interest students that appear to have been created and maintained by Donna
               Heinel . . . . The Office of Admission does not maintain any comparable document
               listing special interest students, their sponsors, and information relating to why they
               may have been designated.” Dkt. 557-2 at ¶ 5. This denial is difficult to square with
               Brunold’s express admission that he maintained a “university-wide VIP spreadsheet.”
               Moreover, Brunold repeatedly indicated that there were multiple “interested parties”
               advocating for the students designated by athletics. Dkt. 546-7, 546-9, 546-10.

           •   Brunold asserts that “[s]tudents who receive a special interest tag are evaluated in the
               same pool with the same criteria as students without a special interest tag. Receiving
               a special interest tag primarily helps the University monitor applications for
               prospective students for whom there is a unique interest. If an applicant is on the
               cusp of admission, having a special interest tag might garner a second review of their
               application.” Dkt. 557-2 at ¶ 8. While it may be true that the special interest tag did
               not result in guaranteed admission, it did consistently provide a roughly 80% chance
               of admission (or at minimum an over 50% chance of admission), which stands in
               sharp contrast to USC’s 11% overall admission rate. There is no basis to surmise that
               69% of the admitted students from the Haden/Heinel VIP lists were all “on the cusp.”

           •   Finally, Brunold states, “I do not recall ever sending, giving, or transmitting any
               prospective student’s application to the President of USC for review.” Dkt. 557-2 at
               ¶ 10. The suggestion that USC’s President did not review student applications is
               implausible in light of the fact that, on at least one occasion, he appears to have
               expressly “directed” Brunold to admit a student whose family had donated millions to
               USC. See Dkt. 546-14 (Brunold writing, “I have just been directed to admit this
               student to the spring semester”).

       Brunold also makes representations that are apparently designed to cabin the facts established

by Mr. Zangrillo’s opposition to USC’s athletics department. He, for example, states, “I do not recall


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anyone other than Heinel providing me with the names of special interest students in th[e] format” of

the documents attached to Mr. Zangrillo’s opposition. Dkt. 557-2 at ¶ 5. Brunold continues by

noting that “[t]he students listed in Ms. Heinel’s internal charts only represent a subset of the overall

number of applicants who receive special interest tags, and extrapolating percentages based on Ms.

Heinel’s internal charts is not an accurate representation of the number of students who receive a

special interest tag and are admitted.” Id. at ¶ 6. While Mr. Zangrillo does not presently have access

to similar documents relating to other USC departments, given the consistency of the practice with

respect to athletics and the conceded “university-wide” nature of the VIP program, and given the

many exhibits indicating that multiple sources – not just Heinel or Haden – were advocating for

students, see, e.g., Dkt. 546-1, 546-2, Mr. Zangrillo has established a sufficient likelihood that

responsive documents exist to satisfy Rule 17(c) and document that the practices of the athletics

department were fully consistent with those of many other departments. See United States v.

Rajaratnam, 753 F. Supp. 2d 317, 320 n.1 (S.D.N.Y. 2011) (describing Rule 17(c) as “a way for a

defendant to examine documents he believes to exist that would be relevant to, and therefore

presumptively admissible in, his defense”).

        Simply put, Brunold’s representations are not sufficiently corroborated or independently

trustworthy to be fully relied upon by this Court. USC repeatedly cites Brunold to assert that “there

is no reason to believe” responsive documents exist. See Dkt. 559 at 8, 10, 13. In short, there is

“reason to believe” responsive documents exist and such indefinite and unsupported conclusions are

no substitute for a university having its IT department search its servers – something done every day

in corporate civil litigation or while responding to government subpoenas – to provide the Court with

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certitude that documents (whether multiple or singular) either in fact exist or a certification that they

do not.

          For the foregoing reasons, as well as those set forth in his opposition, and those that will

be presented during the argument on September 18, Mr. Zangrillo respectfully requests that this

Honorable Court deny USC’s Motion to Quash.

                                                         Respectfully Submitted,
                                                         Robert Zangrillo
                                                         By His Attorneys,

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Dated: September 17, 2019

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                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, September 17, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                    /s/ Martin G. Weinberg




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